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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NORTH DAKOTA

                                                  )   Bankr. Case No. 16-30672
 In re:
                                                  )
                                                  )   Chapter 7
 Vortex Drain Tiling LLC,
                                                  )
                                                  )   NOTICE OF APPLICATION FOR
                                     Debtor.
                                                  )   APPROVAL OF EMPLOYMENT OF
                                                  )   SPECIAL COUNSEL

The undersigned Trustee has filed and served an Application for Approval of Employment of Special
Counsel, dated March 6, 2018. Your rights may be affected in the action. You should read the papers
carefully and discuss the matters with your attorney if you have one. If you want the court to consider
your views you should mail a written response to the action, within 14 days of the date of mailing of
this document, and file the response with the Clerk of the Bankruptcy Court and a copy served upon
the U.S. Trustee and the Bankruptcy Trustee.

Clerk, U.S. Bankruptcy Court                   U.S. Trustee               Trustee
Quentin N. Burdick U.S. Courthouse             314 South Main Ave         (see address below)
655 First Ave N, Ste 210                       Suite 303
Fargo ND 58107-4932                            Sioux Falls, SD 57104-6462

          DATED this 13th day of March, 2018.

                                                      /s/ Forrest C. Allred
                                                       Forrest C. Allred
                                                        Chapter 7 Trustee
                                                       14 Second Ave SE, Suite 200
                                                       Aberdeen, SD 57401
                                                       Telephone: (605) 225-3933
                                                       Fax: (605) 226-3371
                                                        forrest.allred@gmail.com
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                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NORTH DAKOTA

                                                     )   Bankr. Case No. 16-30672
 In re:
                                                     )
                                                     )   Chapter 7
 Vortex Drain Tiling LLC,
                                                     )
                                                     )   APPLICATION FOR APPROVAL OF
                                        Debtor.
                                                     )   EMPLOYMENT OF SPECIAL COUNSEL


          1. Forrest C. Allred is the Trustee in this case.
          2. Applicant believes employment of special counsel is necessary: The Debtor engaged in
certain transactions possibly giving rise to Chapter 5 avoidance actions. There also appear to be
possible collection matters which will need to be pursued.
          3. Matthew R. Burton, and Leonard, O’Brian, Spencer, Gale & Sayre, Ltd, 100 South Fifth
Street, Suite 2500, Minneapolis, MN 55402, are qualified by reason of practice and experience to
render such representation to the Trustee.
          4. Proposed compensation is $400.00 per hour, plus expenses, subject to Court approval.
          5. Said professional has disclosed to the undersigned that he has the following connections
with the Debtor(s), creditors, any other party-in-interest, their respective attorneys and accountants,
the United States Trustee or any person employed in the Office of the United States Trustee: McM,
Inc., is in bankruptcy in case number 17-30061. McM has an interest adverse to this estate, in that
the debtor herein, Vortex Drain Tiling, Inc., is a party to an executory contract with McM, Inc., to-
wit, a land installment contract. Attorney Burton is counsel for the trustee in the McM, Inc.,
matter, and is also counsel to the trustee in another matter related to the McM, Inc., matter, that
being case number 17-30558, Ronald G. McMartin, Jr. There will be no conflict of interest by any
of the services provided in this case. The undersigned Trustee and Attorney Burton have agreed
that Attorney Burton’s representation of the Trustee herein will not extend to any matters involving
either the McM, Inc., matter, or the Ronald G. McMartin, Jr., matter.
          WHEREFORE, applicant prays that the court approve such employment by the Trustee
in accordance with the terms hereinabove set forth.

          DATED this 6th day of March, 2018.

                                                         /s/ Forrest C. Allred
                                                            Forrest C. Allred
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                                                    Chapter 7 Trustee
                                                    14 Second Ave SE, Suite 200
                                                    Aberdeen, SD 57401
                                                    Telephone: (605) 225-3933
                                                    Fax: (605) 226-3371
                                                   forrest.allred@gmail.com



                                      VERIFICATION

           I, Matthew R. Burton, the proposed professional named in the foregoing
    application, declare under penalty of perjury that the foregoing is true and correct according
    to the best of my knowledge, information and belief.
           DATED this 6th day of March, 2018.

                                           /s/ Matthew R. Burton
                                          Matthew R. Burton, #210018 (MN)
                                          Leonard, O’Brian, Spencer, Gale & Sayre, Ltd
                                          100 South Fifth Street, Suite 2500\
                                          Minneapolis, MN 55402
                                          612-232-1030
                                          mburton@losgs.com
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NORTH DAKOTA

                                                  ) Bankr. Case No. 16-30672
 In re:
                                                  )
                                                  ) Chapter 7
 Vortex Drain Tiling LLC,
                                                  )
                                                  ) CERTIFICATE OF SERVICE
                                     Debtor.
                                                  )
                                                  )

I declare under penalty of perjury that on March 13, 2018, I served the “Notice of Application and
Application for Approval of Employment of Special Counsel” via First Class Mail, postage pre-paid to
the parties listed below and that a true copy of the document was served electronically by Notice of
Electronic Filing upon all parties who have requested service in this case by filing the same via ECF
with the Bankruptcy Court in the District of North Dakota which automatically causes a notification of
the filing to be sent to all ECF participants of record in this matter, and this constitutes service.

Vortex Drain Tilling LLC
741 Ashley Lane NE
Thompson, ND 58278

The U. S. Trustee will be served electronically at USTPRegion12.SX.ECF@usdoj.gov.

DATED this 13th day of March, 2018.

                                                     /s/ Forrest C. Allred
                                                      Forrest C. Allred
                                                       Chapter 7 Trustee
                                                      14 Second Ave SE, Suite 200
                                                      Aberdeen, SD 57401
                                                      Telephone: (605) 225-3933
                                                      Fax: (605) 226-3371
                                                       forrest.allred@gmail.com
